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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES -- GENERAL

Case No.         CV 21-2650-JFW(JEMx)                                       Date: November 12, 2021

Title:           Ronda Spotville -v- Receivables Performance Management, LLC, et al.


PRESENT:
                 HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

                 Shannon Reilly                               None Present
                 Courtroom Deputy                             Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                     ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                  None

PROCEEDINGS (IN CHAMBERS):                ORDER OF DISMISSAL

        In the Notice of Settlement filed on November 10, 2021, Docket No. 26, the parties
represent that they have settled this action. As a result, the Court dismisses this action without
prejudice subject to either party reopening the action on or before December 13, 2021. The Court
will retain jurisdiction for the sole purpose of enforcing the settlement until December 13, 2021.
Thereafter, absent further order of the Court, the dismissal of this action will be with prejudice. All
dates in this action, including the trial date are vacated.

         IT IS SO ORDERED.




                                                                                  Initials of Deputy Clerk sr

(Rev. 1/14/15)
